Case 2:06-cv-01051-KSH-CLW Document 863 Filed 02/26/20 Page 1 of 1 PagelD: 21112
ARAB ROBERT J. LACK
rlack@fklaw.com

j 973.877.6408

 

 

February 26, 2020

BY ECF

The Honorable Katharine S. Hayden
Senior United States District Judge
United States District Court
for the District of New Jersey
Frank R. Lautenberg U.S. Post Office
& Courthouse, Room 311
Newark, NJ 07101

Re: NXIVM Corp. v. Sutton, No. 2:06-cv-01051 (KSH/CLW)
Dear Judge Hayden:

We represent crossclaimant Interfor, Inc. (“Interfor’’) in the above action. On
August 26, 2019, the Court entered judgment in favor of Interfor in the amount of
$1,369,157.51 against crossclaim defendant NXIVM Corporation on Interfor’s crossclaim for
contractual indemnification, and directed Interfor to file a supplemental submission setting
forth its attorneys’ fees and costs incurred after May 31, 2017 and its calculation of
prejudgment interest (D.E. 842). On September 23, 2019, Interfor made that submission
(D.E. 854), in which it informed the Court that Interfor’s damages would total $2,721,767.69
as of October 16, 2019 and that prejudgment interest would thereafter accrue at $417.07 per
day (id. § 8).

I write to advise the Court that Interfor’s damages will total $2,778,072.14 as
of February 28, 2020, and to respectfully ask that the Court enter an amended judgment at its
earliest convenience.

Respectfully,
fos
Robert J. Lack

cc: All Counsel (by ECF)

One Gateway Center. 25th Floor, Newark, NJ.07102-5311 973.877.6400 — fklaw.com

3494301.1
